          Case 1:18-cv-02885-RJL Document 8 Filed 12/26/18 Page 1 of 6



                      0IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

JEROME CORSI,
Plaintiff,

           v.

ROBERT MUELLER, et al                               Civil Action No. 1:18-cv-02885
Defendants


      PLAINTIFFS’ RESPONSE TO COURT’S ORDER OF DECEMBER 12, 2018

       Plaintiff Jerome Corsi (“Mr. Corsi”) submits the following in response to this Court’s

order of December 12, 2018 directing Plaintiff to “show cause in writing within 14 days of this

Order why this case is related to Klayman v. Obama, C.A. No. 13-cv-851 for the purpose of the

Rule 40.5 procedure….” ECF No. 4. A review of this instant complaint (“Corsi Complaint”), as

well as the operative complaints in Klayman v. Obama, 13-cv-851 (“Klayman I”) and Klayman

v. Obama (“Klayman II”), and its related case, Klayman v. Comey, 17-cv-1074 (“Klayman III”)

(collectively the “Klayman Matters”) shows that the Corsi Complaint is intricately related to

Klayman I and its progeny, as it involves a continuing pattern and practice of illegal and

unconstitutional misconduct first pled in Klayman I and II and that has been ongoing for nearly

over half a decade now.

       Under Local Rule 40.5, related cases are allowed assignment to the same judge, in the

interest of judicial economy. A new case will be designated as “related” if both cases (1) relate to

common property, or (2) involve common issues of fact, or (3) grow out of the same event or

transaction, or (4) involve a patent infringement.” Dale v. Executive Office of the President, 121

F. Supp. 2d 35, 37 (D.D.C. 2000). Here, Mr. Corsi’s designation survives under not just one, but
           Case 1:18-cv-02885-RJL Document 8 Filed 12/26/18 Page 2 of 6



at least two of the prescribed bases—the two cases clearly involve common issues of fact and

law and the two cases grow out of the same continuing events.

       First, the Klayman Matters and the Corsi Complaint are all based fundamentally on

illegal, warrantless, and unconstitutional surveillance by the FBI, the Office of Special Counsel

of the Department of Justice, and their sister intelligence agencies. For instance, Klayman I

alleges:

       This is an action for monetary, declaratory, equitable, and injunctive relief as a
       result of the U.S. Government’s illegal and unconstitutional use of electronic
       surveillance programs in violation of the First, Fourth, and Fifth Amendments to
       the U.S. Constitution. In addition, this lawsuit challenges the Government’s
       expansive acquisition of Plaintiffs’ telephone and Internet metadata under Section
       215 of the Patriot Act, 50 U.S.C § 1861 and the Government’s bulk collection of
       Internet content under Section 702 of the Foreign Intelligence Surveillance Act
       (“FISA”) (50 U.S.C. § 1881a). Further, this case challenges the legality of
       Defendants’ participation and conduct in a secret and illegal Government scheme
       to intercept and analyze vast quantities of domestic and foreign telephonic and
       Internet communications. ECF No. 145-1, ¶ 1.

       This surveillance program was ordered and authorized by President Obama and
       primarily undertaken by the NSA and the other Defendants, intercepting and
       analyzing the communication of hundreds of millions of Americans. Id. at ¶ 5.

Klayman III, which was filed approximately four years later, and which was accepted by this

Court as a related matter, alleges the ongoing and continuous nature of the allegations of

continuing events set forth in Klayman I and II:

       Defendants have continued to engage in ongoing illegal, unconstitutional
       surveillance of millions of Americans, including prominent Americans such as the
       chief justice of the U.S. Supreme Court, other justices, 156 judges, prominent
       businessmen and others such as Donald J. Trump, as well as Plaintiffs themselves.
       Defendants Comey, Rogers, Pompeo, Coats, Obama, Clapper, and Brennan acted
       outside the scopes of their employment, in their personal capacities, to illegally
       and unconstitutionally spy on millions of Americans, including Plaintiffs, without
       probable cause or a warrant, and continue to do so through surrogates in the
       Obama Deep State. On information and belief, Defendants’ ongoing illegal,
       unconstitutional surveillance continues to occur in numerous ways, including but
       not limited to, bulk telephony metadata collection similar to the now
       “discontinued” Section 215 of the USA PATRIOT ACT as well targeted



                                                   2
           Case 1:18-cv-02885-RJL Document 8 Filed 12/26/18 Page 3 of 6



        “PRISM” collection under Section 702 of the Foreign Sovereignties Immunity
        Act. Additional, specific mechanisms employed by Defendants will be set forth in
        discovery. ECF No. 1 ¶¶ 18-20

Now, the newly filed Corsi Complaint alleges a further continuation of the allegations and events

originally set forth in Klayman I, as it sets forth that the same Defendants, that is parties, are still

engaging in unconstitutional and illegal warrantless surveillance without probable cause:

        In this regard, Defendants Mueller, DOJ, NSA, CIA, and FBI have engaged in
        ongoing illegal, unconstitutional surveillance on Plaintiff Corsi, in violation of the
        Fourth Amendment and the USA FREEDOM Act as well targeted “PRISM”
        collection under Section 702 of the Foreign Sovereignties Immunity Act at the
        direction of Defendant Mueller. This illegal and unconstitutional surveillance is
        being conducted in conjunction with Defendant Mueller’s investigation, at the
        direction of Mueller and his partisan Democrat, leftist, and ethically and legally
        conflicted prosecutorial staff in order to try to uncover information that can be
        used by Defendant Mueller to coerce, extort, threaten and/or blackmail Plaintiff
        Corsi into testifying falsely to implicate the president of the United States in
        crimes and have him removed from office. ECF No. 1 ¶¶ 26-27.

As demonstrated through these allegations, the Corsi Complaint clearly sets forth continuing

events and “involves common issues of law and fact” with the Klayman Matters. They all are

centered around the illegal and unconstitutional warrantless surveillance programs that the

Defendants have been implementing since at least 2013, when Klayman I was filed, and which

continues to this day. Furthermore, they all involve interpretation of the statutes purportedly

regulating surveillance, including but not limited to the USA FREEDOM Act and the Foreign

Intelligence Surveillance Act.

        Second, the Corsi Complaint serves as an example of a specific allegation set forth in

Klayman III. In Klayman III, the undersigned counsel, Larry Klayman (“Mr. Klayman”) alleged

that:

        As an attorney, Plaintiff Klayman has, in particular, suffered a chilling effect in
        his First Amendment rights, as Plaintiff Klayman and his clients, including
        Plaintiff Montgomery are afraid to speak over the phone and communicate




                                                   3
           Case 1:18-cv-02885-RJL Document 8 Filed 12/26/18 Page 4 of 6



        otherwise for fear of being surveilled illegally and unconstitutionally by
        Defendants. ECF No. 1 ¶ 78.

Now, in the Corsi Complaint, Mr. Klayman is representing Mr. Corsi as a client, and it is alleged

that Mr. Corsi has been targeted by the Defendants for illegal and unconstitutional surveillance,

which in turn, has violated attorney-client privilege and had a chilling effect on Mr. Klayman’s

communications with Mr. Corsi. This is exactly what Mr. Klayman feared when he filed

Klayman III. As such, it is clear that the Corsi Complaint involves a common, continuing

question of fact that renders it related to the Klayman Matters.

        Indeed, given the fact that this Honorable Court has presided over all of the Klayman

Matters over the past five (5) years, it is best equipped the handle the Corsi Complaint. This

Court is intricately familiar with the factual allegations of the Klayman Matters and the ongoing

and continuous natures of the constitutional violations and other illegalities set forth therein. It is

also intimately familiar with the legal analysis regarding the various statutes involved, which will

facilitate swift adjudication. This is particularly important in a case where constitutional

violations are alleged to have occurred, and which are still ongoing. See Mills v. District of

Columbia, 571 F.3d 1304, 1312 (D.C. Cir. 2009) (“It has long been established that the loss of

constitutional freedoms, `for even minimal periods of time, unquestionably constitutes

irreparable injury.'")

        Based on the foregoing, Mr. Corsi respectfully requests that this Court affirm the “related

case” designation of this related case and allow for it to proceed expeditiously, as serious and

credible constitutional violations have been alleged and are continuing and there clearly are

common issues of law and fact. Plaintiff and his spouse, who will be present at the scheduled

hearing along with the undersigned counsel, will be prepared to elaborate further under oath,




                                                   4
           Case 1:18-cv-02885-RJL Document 8 Filed 12/26/18 Page 5 of 6



should the Court decide to inquire, on the illegal and unconstitutional surveillance of him, his

family, friends and his legal counsel, in addition to the other allegations of the related complaint.

Dated: December 26, 2019                              Respectfully submitted,
                                                      /s/ Larry Klayman
                                                      Larry Klayman, Esq.
                                                      KLAYMAN LAW GROUP, P.A.
                                                      2020 Pennsylvania Avenue N.W.
                                                      Suite 800
                                                      Washington, D.C. 20006
                                                      (310) 595-0800
                                                      leklayman@gmail.com




                                                  5
          Case 1:18-cv-02885-RJL Document 8 Filed 12/26/18 Page 6 of 6



                                CERTIFICATE OF SERVICE

       I, Larry Klayman, counsel for Plaintiffs hereby certify that on this day, December 26,

2018, a copy of the foregoing was filed via this Court’s ECF system and served upon all parties

and/or counsel of record.


                                                           /s/ Larry Klayman
                                                           Larry Klayman




                                                6
